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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

ALEXANDRIA
FERNANDO GALINDO NEWPORT
NEws
ACTING CLERK OF COURT NORFOLK

May 28, 2010
Angela D. Caesar, Clerk of Court JUN - 8 2010
United States District Court Clerk, U.S. 0;
District of Columbia COUT for tet & Bankruptcy

‘courts for the Di
333 Constitution Avenue, N.W. 6 District of Columbia

Washington, D.C. 20001

Re: United States of America v Andrew Warren, Case Number 2:10cr92

Dear Madam Clerk,

Pursuant to the provisions of Rule 20 of the Federal Rules of Criminal Procedure, | am
forwarding to you herewith a certified copy of the Consent to Transfer of Case for Plea and

Sentence and docket sheet.

The documents from our case file can be accessed on our website, hitps//ecf.vaed.uscourts.
gov.

A copy of this letter is enclosed for your convenience in acknowledging receipt.
Very truly yours,

FERNANDO GALINDO, CLERK

By:
Deputy Clerk

RECEIVED BY: Anan € hear.

DATE: Jo valle

 

 

Albert V. Bryan U.S. Courthouse m 401 Courthouse Square m= Alexandria, Virginia 22314
Telephone: 703-299-2107 m Fax: 703-299-2109 m@ www.vaed.uscourts.gov
